
101 B.R. 608 (1989)
In re Patricia S. MOSELEY, a/k/a Patricia Moseley, d/b/a Sleepy's Radio, Debtor.
UNITED STATES of America, Appellant,
v.
Patricia S. MOSELEY, a/k/a Patricia Moseley, d/b/a Sleepy's Radio, Appellee.
BAP No. CC-87-1778 MeJV.
United States Bankruptcy Appellate Panel, Ninth Circuit.
Argued and Submitted October 21, 1988.
Decided July 24, 1989.
*609 A. Lavar Taylor, Asst. U.S. Atty., Los Angeles, Cal., for appellant.
Ronald M. Stark, Norwalk, Cal., for appellee.
Before MEYERS, JONES and VOLINN, Bankruptcy Judges.

OPINION
PER CURIAM:
The trial court issued an order which partially denied an Internal Revenue Service tax claim against Patricia S. Moseley, a Chapter 13 debtor. In re Moseley, 74 B.R. 791 (C.Cal.1987). While this appeal was pending, Moseley's petition was dismissed because she failed to make the payments required by her plan.
When events subsequent to the filing of an appeal divest an appellate court of the power to decide questions which affect the rights of parties, as here, the appeal is moot and nonjusticiable. Sosna v. Iowa, 419 U.S. 393, 402, 95 S.Ct. 553, 558, 42 L.Ed.2d 532 (1975); Aguirre v. S.S. Sohio, Intrepid, 801 F.2d 1185, 1189 (9th Cir. 1986). The general practice in such a case is to dismiss the appeal and vacate the order from which it arose. United States v. Munsingwear, 340 U.S. 36, 39, 71 S.Ct. 104, 106, 95 L.Ed. 36 (1950).
Appeal DISMISSED and order VACATED.
